Case 2:08-cv-00315-CW Document 430 Filed 06/20/24 PageID.11593 Page 1 of 3




 Shawn T. Welch (7113)                            Kathy A.F. Davis (4022)
 Richard D. Flint (7525)                          K. Tess Davis (15831)
 Michelle Quist (13559)                           Assistant Attorneys General
 HOLLAND & HART LLP                               SEAN D. REYES (7969)
 222 South Main, Suite 2200                       Utah Attorney General
 Salt Lake City, UT 84101                         1594 W. North Temple, Ste. 300
 Telephone: 801-799-5800                          Salt Lake City, UT 84116
 stwelch@hollandhart.com                          Telephone: (801) 537-9801
 rdflint@hollandhart.com                          kathydavis@agutah.gov
 mlquist@hollandhart.com                          kaitlindavis@agutah.gov

 Attorneys for Kane County, Utah                  Attorneys for the State of Utah


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KANE COUNTY (1), UTAH a Utah political
 subdivision,

        Plaintiff,

 STATE OF UTAH,                                       KANE COUNTY, UTAH’S AND THE
                                                    STATE OF UTAH’S REPLY IN SUPPORT
        Plaintiff-Intervenor,
                                                     OF MOTION FOR PARTIAL DECISION
 v.

 UNITED STATES OF AMERICA,                                   Case No. 2:08-cv-00315-CW

        Defendant,                                              Judge Clark Waddoups

 SOUTHERN UTAH WILDERNESS
 ALLIANCE and THE WILDERNESS
 SOCIETY,

        Defendant-Intervenors.


       Plaintiff Kane County, Utah (“County”) and Plaintiff-Intervenor the State of Utah

(“State”) submit their Reply in Support of Motion for Partial Decision.

       The United States agrees that this case “is ready to move on to a decision.” United States’

Response to Plaintiffs’ Motion for Partial Decision (ECF 429), at 2. Thus, there is no
Case 2:08-cv-00315-CW Document 430 Filed 06/20/24 PageID.11594 Page 2 of 3




impediment to the Court granting the limited relief requested in the motion. Nevertheless, the

United States somehow believes that further delay is warranted because “issuing only a partial

decision could complicate BLM’s subsequent consideration of the Skutumpah Road Project.” Id.

at 3. “That is, if the Court were to conclude that [the] Project is both reasonable and necessary,

the United States would then need to determine whether there are appropriate alternatives that

would serve to better protect the lands while still meeting the necessity for the proposed

improvement.” Id.

       There are two obvious flaws in that argument. First, if the BLM is going to try to further

delay the Skutumpah Road Project by invoking some other pro forma deliberative process, then

it would be better to get to that now. Second, the County already completed its full consultation

with the BLM, including meetings, exchanges of information, and substantive environmental

review. The consultation has concluded. BLM has had the full opportunity to consult regarding

the Skutumpah Road Project and the BLM (through several witnesses and documents) agreed

that the project is reasonable. Unfortunately, unknown persons in the Washington, D.C. office of

the BLM ordered Harry Barber to find that it was not necessary.

       As Mr. Barber confirmed at trial, he is not a manager here. Someone above him made the

decision. Given that the BLM’s decision already came from Washington, D.C., there cannot be a

higher-level of review to be made regarding a minor road project on common public lands in

southern Utah.

       As squarely held by the Tenth Circuit, there are common interests at play and “one party

cannot serve as the sole judge of scope and extent, or as the sole arbiter of what is ‘reasonable

and necessary.’” So. Utah Wilderness Alliance v. Bureau of Land Management, 425 F.3d 735,

747 (10th Cir. 2005) (citation omitted). As further held by the Tenth Circuit, the United States




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Case 2:08-cv-00315-CW Document 430 Filed 06/20/24 PageID.11595 Page 3 of 3




“may not use its authority, either by delay or by unreasonable disapproval, to impair the rights of

the holder of the R.S. 2477 right-of-way. In the event of disagreement, the parties may resort to

the courts.” Id. at 748. The parties have resorted to this Court, and the United States agrees there

is no impediment to the Court’s ability to render its decision.

       The United States’ obstructionism continues to interfere with the rights of the holders of

the R.S. 2477 right-of-way for the Skutumpah Road. Surely, if the United States were suffering

increased maintenance costs, as the County has, it would seek to expedite resolution of the

Skutumpah Road Project. Compensation to the County caused by the United States’ interference

will be addressed later.

       WHEREFORE, the State and County respectfully request the Court to issue a partial

decision determining whether the Skutumpah Road Project is reasonable and necessary, and

therefore within the scope of the State’s and County’s R.S. 2477 right-of-way.

       DATED this 20th day of June 2024.

                                              HOLLAND & HART LLP

                                              /s/ Shawn Welch
                                              Shawn T. Welch
                                              Richard D. Flint
                                              Michelle Quist

                                              Attorneys for Kane County, Utah

                                              UTAH ATTORNEY GENERAL’S OFFICE

                                              /s/ Kathy A.F. Davis*
                                              Kathy A.F. Davis
                                              Kaitlin Tess Davis

                                              Attorneys for the State of Utah

                                              * Signed with permission given to filing counsel


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